MEMO ENDORSED |1:24-cr-00556-Der Document 188 Filed 04/29/25 Page 1 of 3

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The Court is in receipt of this undocketed communication from a non-party to this

case. The application is DENIED AS MOOT. The Court has granted the letter- Paul Seamus Ryan

motion referenced in the endorsed letter, ECF No. 178, in a Memorandum Order
dated April 25, 2025. See ECF No. 185. SO ORDERED.

Dated: April 28, 2025

New York, New York ee Be
Dale E. Ho

United States District Judge

April 25, 2025

The Honorable Dale E. Ho
United States District Judge
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: Application to Unseal Materials in United States v. Adams, No. 24-CR-556 (DEH)

Dear Judge Ho:

We write to join in The New York Times Company’s letter-motion (ECF No. 133) and

Executive Director

supplemental letter (ECF No. 178) requesting the public release of certain materials related to searches

executed by the Government in connection with this action (the “Materials”).

The New York City Campaign Finance Board is a non-partisan agency of the City of New York
established by the Campaign Finance Act and the New York City Charter (the “N.Y.C. Charter”),
Chapter 46, with its principal place of business at 100 Church Street, 12" Floor, New York, NY 10007.
Pursuant to the Act, the Board administers the Campaign Finance Program (the ““Program’”), which
provides public matching funds to candidates for New York City public office. See Admin. Code § 3-
701 et seq. To qualify to receive public matching funds, a candidate must comply with disclosure
requirements and requests, spending limits, contribution limits, and other conditions. See Admin. Code §
3-703. The Board pays public matching funds to an eligible candidate’s designated principal committee
based upon contributions eligible for matching funds reported by the committee in disclosure statements

submitted to the Board. See Admin. Code § 3-703; Board Rule § 7-01(c).

During each city election cycle, the Board makes regular determinations about whether each
campaign participating in the Program is eligible to receive matching funds. See Board Rule § 7-02.
These decisions are based on, among other criteria, each campaign’s compliance with applicable laws

and regulations. See Admin. Code § 3-703; Board Rule § 3-01. A campaign may challenge an

ineligibility determination by submitting to the Board a petition pursuant to Board Rule § 7-09 (7-09
Petition”), which requires the Board to review its ineligibility determination and make a supplemental
determination regarding the petition. See Board Rule § 7-09. Finally, the Board also conducts post-
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The Honorable Dale E. Ho Page 2 April 25, 2025

election audits of all campaigns participating in the Program, in large part to ensure that public funds
provided to the campaigns were obtained and used in compliance with applicable laws and regulations.
Admin Code § 3-710(1); Board Rules §§ 3-01; 6-02(a); 10-02.

The Board has a duty to the public to ensure the proper administration of the Program, which
includes making eligibility determinations and conducting post-election audits of campaigns based on
the most accurate and up-to-date information available. Access to the Materials is vital to fulfillment of
this duty. On December 16, 2024, the Board denied public matching funds to Mayor Eric Adams’ 2025
mayoral campaign (“the 2025 Campaign”) due to, among other reasons, the existence of a “reason to
believe the Adams campaign [] engaged in conduct detrimental to the Matching Funds Program, in
violation of law, including the Campaign Finance Act and Board Rules.”! Since then, the Board has
renewed its decision finding the 2025 Campaign ineligible for public matching funds on all subsequent
payment dates to date, on the same grounds the Board relied upon on December 16.

Additionally, the Board is conducting a post-election audit of Mayor Adams’ 2021 mayoral
campaign (“the 2021 Campaign”). For campaigns participating in the Program, penalties for
noncompliance with city laws and regulations can result in a finding that the campaign must repay
public funds to the New York City Election Campaign Finance Fund. See Board Rulés §§ 9-01; 9-02.
The 2021 Campaign received over $10 million in public funds,’ meaning that in Mayor Adams’ case,
such a finding could impose substantial repayment obligations not only on his campaign, but also on
Mayor Adams himself. See Board Rules §§ 3-01(e)(ii); 9-02(d). As such, it is crucial that the Board have
access to the Materials in order to ensure the accuracy of its audit of the 2021 Campaign.

We thank the Court for its attention to this matter.

1 Press Release, New York City Campaign Finance Board, NYC Campaign Finance Board Approves Matching Funds
Payments to 2025 Candidates (Dec. 16, 2024), available at https://www.nyccfb.info/media/press-releases/nyc-campaign-
finance-board-approves-matching-funds-payments-to-2025-candidates/; NYC Votes and NYC Campaign Finance Board,
NYC Campaign Finance Board Meeting - December 16, 2024, available at
https:/Awww.youtube.com/watch?v=x93ys3ff{MJU. See also Board Rule § 3-01(d)(ii)(B).

2 Press Release, New York City Campaign Finance Board, NYC Campaign Finance Board Approves Matching Funds
Payments to 2025 Candidates (Jan. 15, 2025), available at https://www.nyccfb.info/media/press-releases/nyc-campaign-
finance-board-approves-matching-funds-payments-to-2025-candidates-1/; Press Release, New York City Campaign Finance
Board, NYC Campaign Finance Board Approves Matching Funds Payments to 2025 Candidates (Feb. 18, 2025), available at
https://www.nyccfb.info/media/press-releases/nyc-campaign-finance-board-approves-matching-funds-payments-to-2025-
candidates-2/; Press Release, New York City Campaign Finance Board, NYC Campaign Finance Board Approves Matching
Funds Payments to 2025 Candidates (Mar. 17, 2025), available at https://www.nyccfb.info/media/press-releases/nyc-
campaign-finance-board-approves-matching-funds-payments-to-2025-candidates-03-17/; Press Release, New York City
Campaign Finance Board, NYC Campaign Finance Board Approves Matching Funds Payments to 2025 Candidates (Apr. 15,
2025), available at https://www.nyccfb.info/media/press-releases/nyc-campaign-finance-board-approves-maiching-funds-
payments-to-2025-candidates-04-15/.

3 See New York City Campaign Finance Board, Campaign Finance Summary: 2021 Citywide Elections, available at
https://www.nyccfb.info/VSApps/WebForm_ Finance _Summary.aspx?as_election_cycle=2021 (last visited Apr. 22, 2025).

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Respectfully submitted,

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